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 Presbyterian Hospital s/h/a New York
 Presbyterian Hospital
                      UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW JERSEY

  LOUIS J. DECOSMO
                                 Plaintiff,
                       v.                           No. 22-cv-7509
 NEW YORK PRESBYTERIAN
 HOSPITAL                                           [PROPOSED] ORDER


                                 Defendant.


       THIS MATTER having been opened to the Court by the undersigned

 attorneys for Defendant The New York Presbyterian Hospital s/h/a New York

 Presbyterian Hospital (“NYPH”) for an Order dismissing Plaintiff’s Complaint,

 and the Court being satisfied that Plaintiff was served with a copy of the moving

 papers, and the Court having read and considered all papers submitted in support

 of and in opposition to this application,
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           IT IS on this _______ day of ___________, 2023,

           ORDERED that Defendant NYPH’s Motion to Dismiss Plaintiff’s

 Complaint is GRANTED.



                                         ___________________________________
                                         Honorable Susan D. Wigenton, U.S.D.J.




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